Case 1:21-cv-10759-LTS Document 43-10 Filed 02/06/23 Page 1 of 5




                                                           WB-SAUGUS-009678
Case 1:21-cv-10759-LTS Document 43-10 Filed 02/06/23 Page 2 of 5




                                                           WB-SAUGUS-009679
Case 1:21-cv-10759-LTS Document 43-10 Filed 02/06/23 Page 3 of 5
Case 1:21-cv-10759-LTS Document 43-10 Filed 02/06/23 Page 4 of 5




                                                           WB-SAUGUS-009681
Case 1:21-cv-10759-LTS Document 43-10 Filed 02/06/23 Page 5 of 5




                                                           WB-SAUGUS-009682
